Case 3:09-cr-00294-M Document 145 Filed 03/01/17 Page 1 Of ds BAQRID: AE BL
NORTHERN DISTRICT OF TEXAS
IN THE UNITED STATES DISTRICT COURT nas
FOR THE NORTHERN DISTRICT OF TEXAS RAY on
DALLAS DIVISION Mie 1 2.017

UNITED STATES OF AMERICA,

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Deputy

USDC 3:09-CR-0294-M(01) “i
USCA 16-11692

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HOSAM MAHER HUSEIN SMADI,
Defendant.

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ORDER REGARDING MOTION TO PROCEED IN FORMA PAUPERIS ON APPEAL

Before the court are Defendant’s motions to proceed i forma pauperis on appeal filed on
January 23, 2017, and February 13,2017. Crim, Doc. 142, 144. It appears that Defendant may
be seeking to appeal from the November 9, 2016 order denying his request for a copy of the
government’s sentencing memorandum, Crim. Doc. 125; Crim. Doc, 127.

Considering the record in this case, the Court hereby finds and orders:
{ ) The motion for leave to proceed in forma pauperis on appeal is GRANTED, 28 U.S.C.
§ 1915,

{X) | The motion for leave to proceed in forma pauperis on appeal is DENIED for the following
reasons:
() ‘The defendant/movant is not a pauper.

(X) Pursuant to 28 U.S.C, § 1915(a)(3) and Fen. R. App. P, 24(a)(3), the court certifies
that the appeal is not taken in good faith. In support of this finding, the court
adopts and incorporates by reference the order filed on November 9, 2016. Based
on the above orders, the Court finds that the appeal presents no legal points of
arguable merit and is therefore frivolous.

Although this court has certified that the appeal is not taken in good faith under
28 U.S.C. § 1915(a)(3) and Fep. R. APP, P, 24(a)(3), the defendant may challenge
this finding by filing a separate motion to proceed in forma pauperis on appeal
with the Clerk of Court, U.S. Court of Appeals for the Fifth Circuit, within 30
days of this order.

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SO ORDERED this F day of

, 2017.

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UNITED STATES DISTRICT JUDGE

